Case 1-25-42402-ymmM Docl FileadO//Ofiz5 Entered Of/Ofi25 14'40i co

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United States Bankruptcy Court for the:

|
| Fastern Districtof NELS Onl aS
(State) .
Case number (if known): Chapter | 7073 Ju _ 7 CEChéeck7 this is an

amended filing

 

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name | U2 4> “Beuant Canta! Group Le LC.

 

 

2. All other names debtor used

 

in the last 8 years

 

Include any assumed names,

 

trade names, and doing business

 

as names

 

 

. Debtor's federal Emp! , | 4
% Debtors federatemployer S| ACY | U 7%

 

 

 

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
loacs Jamai
OASS —SaMAIcA
Number Street Number Street
Pre,
P.O. Box
° ‘ 4
eh Ch rawr? At AVY IE
City State “< ZIP Code City State ZIP Gode

_ Location of principal assets, if different from
principal place of business

() ACOs !
Couhty

 

Number Street

 

 

City State ZIP Code

5. Debtor’s website (URL)

 

 

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Debtor LLY 2 O De? UC, cy Capimal _ (Sop We Case number (if known)

Name E

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

Official Form 201

 

wrvoraton (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
LJ Partnership (excluding LLP)
CL} Other. Specify:

 

A. Check one:

L) Heafth Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CJ) Railroad (as defined in 11 U.S.C. § 101(44))

LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

CY Commodity Broker (as defined in 11 U.S.C. § 101(6))

C) Clearing Bank (as defined in 11 U.S.C. § 781(3))

wan of the above

B. Check aif that apply:

CQ Tax-exempt entity (as described in 26 U.S.C. § 501)

CJ investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

LJ investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Avww.uscourts.gov/four-digit-national-association-naics-codes .

4313

 

~e.
Chapter 7
OQ Chapter 9

Q) Chapter 114. Check all that apply:

L] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

U) The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Ola plan is being filed with this petition.

CL} Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C} The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C} Chapter 12

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) ;
Debtor F é LkL¢, Case number (if known)

Name

9. Were prior bankruptcy cases Ke
filed by or against the debtor

within the last 8 years? UI Yes. District When

MM/ DD/YYYY
If more than 2 cases, attach a

separate list. District When

MM / DD/YYYY

10. Are any bankruptcy cases i
pending or being filed by a

 

 

business partner or an OC) Yes. Debtor
affiliate of the debtor? District

 

List all cases. If more than 1,
attach a separate list. Case number, if known

 

11. Why is the case filed in this Check all that apply:
district?

Case number

Case number

Relationship

When
MM / DD /YYYY

LJ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district.

QA bankruptcy case concerning debtor's affiliate, genera! partner, or partnership is pending in this district.

12. Does the debtor own or have Ano

possession of any real LJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
property or personal property

that needs immediate Why does the property need immediate attention? (Check ail that apply.)

attention?

CH tt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

LI tt needs to be physically secured or protected from the weather.

LI it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related

assets or other options).

CL) Other

 

Where is the property?
Number Street

 

 

City

Is the property insured?

C] No

C) Yes. insurance agency

State ZIP Code

 

Contact name

 

Phone

 

Rk Statistical and administrative information

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Debtor 420 teu QA

Name

Ap
Capital Grup cemenntnnme

 

 

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

Check one:

we will be available for distribution to unsecured creditors.

After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

ag

C) 50-99
C] 100-199
(J 200-999

CJ $0-$50,000
CJ $50,001-$100,000

ee
500,001-$1 million

LJ $0-$50,000

LJ $50,001-$100,000

L} $440,001-$500,000
500,001-$1 million

LJ 1,000-5,000
CJ 5,001-10,000
LJ 10,001-25,000

L) $1,000,001-$10 million

C3 $10,000,001-$50 million
LJ $50,000,001-$100 million
C3} $100,000,001-$500 million

CL} $1,000,001-$10 miltion

CL $10,000,001-$50 million
LI $50,000,001-$100 million
(3 $100,000,001-$500 million

LJ 25,001-50,000
LJ 50,001-100,000
() More than 100,000

C3 $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
{J $10,000,000,001-$50 billion
LJ More than $50 billion

LY $500,000,001-$1 billion

LC) $1,000,000,001-$10 billion
L) $10,000,000,001-$50 billion
CJ More than $50 billion

gla Request for Relief, Declaration, and Signatures

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

erect an 0 al el o>
x de Hour olle’ [lure Ful

Signature tes representative of debtor

Title He Ha. bor :

 

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Debtor pu: Y ) j PU Cy I ( my \ | Go ) (LC case number irinow
Name 7

18. Signature of attorney

Official Form 201

 

 

 

 

 

 

 

 

 

Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Voluntary Petition for Non-lndividuals Filing for Bankruptcy

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nveb.uscourts.cov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): 430 Pyaar Cao! (rc OO) Llc case NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;

(1i) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under 11 U.S.C. § 541(a).]

Sno RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

UO THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING: (YES/NO): [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

 

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING: (YES/NO): [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

 

 
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[OVER]
DISCLOSURE OF RELATED CASES (cont’d)
3. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING: (YES/NO): [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

 

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.
TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.

 

 

Signature of Debtor’s Attorney SignatuWe of Pro-se Debtor/Petitioner

102-83 jaqmaica Avewé
Mailing Addresvof Debtor/Petitioner

Kichmond Hi, NP UEP

City, State, Zip Code

177 ben ede te genarl: torn

Email Address

IRI 26L A035

Area Code and Telephone Number

 

 

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.
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United States Bankruptcy Court
Eastern District of New York

Inre: {t}3o Bey Ant C poi Grn Lic Case No.

Chapter 7
Debtor(s)

Verification of Creditor Matrix

The above-named Debtor(s) hereby verify that the attached list of creditors is

true and correct to the best of their knowledge.

Signature of Individual signing on behalf of debtor

Hosuber.

Position or relationship to debtor

 

Date: WW [O033

 

 
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

x

In Re: Case No.

1430 Bey Gat CaatA GOroree chapter F

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: ~/ [7 20 +2

|
WY Theol
L/ —

Debtor

 

Joint Debtor

s/
Attorney for Debtor

 

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Stormfield Capital Funding I, LLC
200 Pequot Avenue, Southport
Connecticut, 06890

Anastasios Moschos
C/O Gomberg Legal P.C
14 Wyche Way
Ossining, ny 10562

Anastasios Moschos

C/O Jeffrey |. Baum & Associates
666 Old Country Road, Suite 304
Garden City, New York 11530

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Case 1-25-42402-JmmM bDocl FileadO//Ofiz5 Entered Of/Ofi25 14740i co

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Case No.

1420 Beyer CaoTe Grupere  *

Debtor(s)

 

AFFIRMATION OF FILER(S

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: “DAni ella Hou .

Address: lOD-Ol Ba95 Para iA

Email Address: Tanea Wi DAwni 4A) yr hod . Cem

Phone Number: (Ji ) 40) GAG 1

Name of Debtor(s): 4 QO Py ari Cao.Te bo 4) lle :

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

 

 

 

 

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

 

 

Y DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE EIVED:
WAS NOT PAID.

I WAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

Dated: 1/7/30 a. ( \
Pitet’s Signature

 

 
